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                                  UNITED STATES DISTRICT COURT
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                               NORTHERN DISTRICT OF CALIFORNIA
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                                       SAN FRANCISCO DIVISION
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     IN RE: CATHODE RAY TUBE (CRT)                         CASE NO. 3:07-CV-05944-SC
12   ANTITRUST LITIGATION
                                                           MDL NO. 1917
13   ________________________________________
     This Document Relates To:                             [PROPOSED] ORDER SEALING
14                                                         DOCUMENTS
     Sharp Electronics Corp., et al. v. Hitachi Ltd., et
15   al., Case No. 13-cv-1173 SC                           [Civil L.R. 79-5(d)]

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     [PROPOSED] ORDER SEALING DOCUMENTS                                       CASE NO. 3:07-cv-05944-SC
        Case 4:07-cv-05944-JST Document 1843-1 Filed 08/12/13 Page 2 of 2



 1          Having considered the parties submissions regarding whether certain documents plaintiffs
 2   lodged with the court should be filed under seal, and good cause appearing:
 3          IT IS HEREBY ORDERED that the following documents and portions of Sharp’s
 4   Opposition to Thomson S.A.’s Motion to Dismiss for Lack of Personal Jurisdiction (“Sharp’s
 5   Opposition”) shall be maintained under seal pursuant to Civil Local Rule 79-5(d):
 6          1.      All references to documents designated “Highly Confidential” by Hitachi, Ltd.
 7   (USA), Inc. under the Stipulated Protective Order contained in Sharp’s Opposition including but not
 8   limited to Exhibits H, I and SS to the Declaration of Craig A. Benson in Support of Sharp’s
 9   Opposition;
10          2.      Exhibits H, I and SS to the Declaration of Craig A. Benson in Support of Sharp’s
11   Opposition in their entirety.
12          IT IS FURTHER ORDERED that, to maintain the effect of the seal under Civil Local Rule
13   79-5(f), the parties, their counsel, and the declarants shall not publically disseminate or discuss any
14   of the sealed document or their contents absent further order of the Court.
15   IT IS SO ORDERED:
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17   DATED: ____________, 20132                            By: _________________________________
                                                                  The Honorable Samuel Conti
18                                                                Northern District of California
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     [PROPOSED] ORDER SEALING DOCUMENTS                2                           CASE NO. 3:07-cv-05944-SC
